      Case 3:04-cr-00351-ADC   Document 704   Filed 02/19/09   Page 1 of 1



 1                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO
 2

 3

 4   UNITED STATES OF AMERICA,

 5        Plaintiff,

          v.                                     CRIMINAL NO. 04-351 (SEC)
 6
     JUAN GUERRERO-GARCIA (16),
 7
          Defendant.
 8

 9

10                                    JUDGMENT

11        This case involves a fugitive that was indicted in 2004. As noted
     by the United States Supreme Court, “[c]ourts are vested with an inherent
12
     power to control and mange their own affairs so as to achieve early and
13   expeditious disposition of cases.” Link v. Wabash Railroad Co., 370 U.S.
     626, 630-31 (1962). Moreover, the First Circuit has noted that “in a
14
     period of overloaded dockets, prejudice to the court is inherent in
15   needless delays and postponements.” Chuang Investments v. Eagle Inns,
     Inc., 81 F.3d 13 (1 st Cir. 1996).
16
          In view of the fact that the Defendant has been a fugitive of
17   justice for such a long time, and the uncertainty regarding the future of
     these proceedings, the Court does hereby dismiss the indictment for
18
     administrative and docketing purposes only. This dismissal does not
19   affect the validity, force or effect of the pending indictment, arrest
     warrants, or the Defendant’s status as a fugitive from justice.
20
          Any motion filed in this case, after the entry of this order, shall
21   not be deemed a new filing. Instead, the filing will be effective nunc
     pro tunc to the date of this order. Judgment of DISMISSAL WITHOUT
22
     PREJUDICE is entered accordingly.
23
          SO ORDERED.
24        In San Juan, Puerto Rico, this 19 th day of February, 2009.

25
                                       S/ Salvador E. Casellas
26                                    UNITED STATES DISTRICT JUDGE
